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 7
                               UNITED STATES DISTRICT COURT FOR THE
 8
                                 NORTHERN DISTRICT OF CALIFORNIA
 9
      JENNIFER MAREK as an individual, on behalf           CASE NO. _______
10    of herself, the general public and those similarly
11    situated,                                            CLASS ACTION COMPLAINT FOR
                                                           VIOLATION OF THE CALIFORNIA
12       Plaintiff,                                        CONSUMERS LEGAL REMEDIES ACT;
                                                           FALSE ADVERTISING; FRAUD, DE-
13                                                         CEIT, AND/OR MISREPRESENTATION;
                      v.                                   UNFAIR BUSINESS PRACTICES; AND
14                                                         UNJUST ENRICHMENT
15    MOLSON COORS BEVERAGE COMPANY;
      MOLSON COORS BEVERAGE COMPANY                        JURY TRIAL DEMANDED
16    USA LLC,

17       Defendant.
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 1                                           INTRODUCTION

 2          1.      Plaintiff Jennifer Marek, by and through her counsel, brings this class action

 3   against Molson Coors Beverage Company and Molson Coors Beverage Company USA LLC (col-

 4   lectively, “Defendant” or “Molson Coors”) to seek redress for Defendant’s deceptive and unlaw-

 5   ful practices in labeling and marketing its Vizzy Hard Seltzer.

 6          2.      Consumers are increasingly interested in getting health benefits from their food

 7   and drink. Consumers are attracted to “better for you” products that are healthier than other alter-

 8   natives in food and beverage categories that are not typically healthy (or even unhealthy). To

 9   make healthy choices, consumers rely on food and drink product labels.

10          3.      Intending to profit from consumers’ increasing desire to consumer healthy food

11   and drink, Defendant fortified its alcoholic beverage by sprinkling nutrients into a beverage that is

12   lawfully required to disclose harmful health effects. 27 U.S.C. § 215. Of course, adding an insig-

13   nificant amount of nutrients to an alcoholic beverage will do little to overcome the harmful effects

14   of alcohol.

15          4.      But Defendant did just this. It fortified its Vizzy products with an insignificant

16   amount of Vitamin C, and then blanketed the labels and advertising with statements affirmatively

17   promoting antioxidant Vitamin C from a “superfruit.” Defendant’s campaign is both misleading

18   and dangerous to consumers. It is also unlawful, as Defendant’s labels ignore FDA and Congres-

19   sional policies acknowledging such danger.

20          5.      Accordingly, Defendant’s manufacture, labeling, and advertising of the Products

21   as containing “Antioxidant Vitamin C from Acerola Superfruit” and the other representations de-

22   tailed herein are unlawful, misleading, and designed to deceive consumers into purchasing De-

23   fendant’s Products. Plaintiff brings this action to stop Defendant’s misleading practices.

24                                                   PARTIES

25          6.      Jennifer Marek (“Plaintiff”) is, and at all times alleged in this Class Action Com-

26   plaint was, an individual and a resident of Menlo Park, California.

27          7.      Defendant Molson Coors Beverage Company is a corporation existing under the

28   laws of the State of Delaware, having its principal place of business in Chicago, Illinois.

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 1          8.      Defendant Molson Coors Beverage Company USA LLC is a limited liability com-

 2   pany existing under the laws of the State of Delaware, having its principal place of business in

 3   Chicago, Illinois.

 4                                         JURISDICTION AND VENUE

 5          9.      This Court has jurisdiction over the subject matter of this action pursuant to 28

 6   U.S.C. § 1332(d)(2). The aggregate amount in controversy exceeds $5,000,000, exclusive of

 7   interest and costs; and Plaintiff and at least one Defendant are citizens of different states.

 8          10.     The injuries, damages and/or harm upon which this action is based, occurred or

 9   arose out of activities engaged in by Defendant within, affecting, and emanating from, the State

10   of California. Defendant regularly conducts and/or solicits business in, engage in other persistent

11   courses of conduct in, and/or derive substantial revenue from products provided to persons in the

12   State of California. Defendant has engaged, and continues to engage, in substantial and

13   continuous business practices in the State of California.

14          11.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a

15   substantial part of the events or omissions giving rise to the claims occurred in the state of

16   California, including within this District.

17          12.     In accordance with California Civil Code Section 1780(d), Plaintiff concurrently

18   files herewith a declaration establishing that, at various times throughout the class period, she

19   purchased Vizzy Hard Seltzer at a Target in Redwood City, California. (Plaintiff ’s declaration is

20   attached hereto as Exhibit A.)

21          13.     Plaintiff accordingly alleges that jurisdiction and venue are proper in this Court.

22                                       SUBSTANTIVE ALLEGATIONS

23          Defendant’s Products

24          14.     Defendant manufactures, distributes, markets, advertises, and sells a variety of

25   hard seltzers under the brand name “Vizzy.”

26          15.     Hard seltzers are carbonated, alcoholic beverages, mainly derived from either a

27   brewed sugar base or brewed malt base. They are often purchased and consumed because they are

28   low calorie, low sugar, inexpensive alcoholic drinks.

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 1          16.     Vizzy products predominately, uniformly, and consistently state on the principal

 2   display panel of the product labels that the products are made “with Antioxidant Vitamin C from

 3   acerola superfruit.” Vizzy hard seltzers come in a variety of flavors, including Blackberry Lemon,

 4   Watermelon Strawberry, Papaya Passionfruit, Raspberry Tangerine, Blueberry Pomegranate,

 5   Strawberry Kiwi, Black Cherry Lime, Pineapple Mango, Raspberry Lemonade, Strawberry Lem-

 6   onade, Peach Lemonade, and Watermelon Lemonade. These products, and any other Vizzy Hard

 7   Seltzer products that make a claim regarding antioxidant Vitamin C, will hereinafter be referred

 8   to as “Products.”

 9          17.     The representation that the Products contain and provide antioxidant vitamin C

10   from acerola superfruit was uniformly communicated to Plaintiff and every other person who

11   purchased any of the Products in California and the United States. The same or substantially simi-

12   lar product label has appeared on each respective product during the entirety of the Class Period

13   in the general form of the following example:

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24          18.     The Products’ website repeats the claims with statements such as: “Another hard

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 1   seltzer? Yeah, but we’ve got antioxidant vitamin C.”

 2          19.     Other advertisements brag that Vizzy is the “First hard seltzer made with antioxi-

 3   dant vitamin C from acerola superfruit.” Television adds also boast, “Given the choice, why

 4   wouldn’t you choose the one with antioxidants and vitamin C?”

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15          20.     In recent years, consumer demand for hard seltzers has exploded. In 2018, hard
16   seltzer sales were a mere $210 million and in 2019, sales sky rocketed to $1.2 billion with no
17   signs of slowing.
18          21.     In order to distinguish itself in the bullish market of hard seltzers, Defendant has
19   fortified its product to distract from the severe harm that may occur from alcohol consumption.
20   Seeking to cash in on the hard seltzer craze, Defendant has violated FDA policies and regulations
21   and for the reasons described herein, its labels are misleading and deceptive.
22          Defendant’s Products Are Harmful
23          22.     Federal regulations require that Defendant’s Products bear the following warning:
24   “GOVERNMENT WARNING: (1) According to the Surgeon General, women should not drink
25   alcoholic beverages during pregnancy because of the risk of birth defects. (2) Consumption of
26   alcoholic beverages impairs your ability to drive a car or operate machinery, and may cause
27   health problems.” 27 U.S.C. § 215 (emphasis added).
28

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 1           23.     In enacting this requirement, Congress found that “the American public should be

 2   informed about the health hazards that may result from the consumption or abuse of alcoholic

 3   beverages.”1

 4           24.     The nutrient content of alcoholic beverages is usually negligible. Because they

 5   provide almost no nutrients, alcoholic beverages are considered “empty calories.”2

 6           25.     Over the long-term, consuming excess alcohol can also impair the body’s ability to

 7   digest and utilize nutrients.3

 8           26.     The United States Department of Agriculture’s 2020-2025 Dietary Guidelines for

 9   Americans (DGA) encourage “[a]dults who choose to drink . . . to limit daily intakes . . . so as not

10   to exceed daily calorie limits,” and cautions that, in general, “drinking less is better for health

11   than drinking more.”4

12           27.     Evidence indicates that, among those who drink, higher average alcohol consumption

13   is associated with an increased risk of death from all causes compared with lower average alcohol

14   consumption. Emerging evidence suggests that even drinking within the recommended limits may

15   increase the overall risk of death from various causes, such as from several types of cancer and some

16   forms of cardiovascular disease.5

17           28.     According to the CDC, “Excessive alcohol use is responsible for more than 95,000

18   deaths in the United States each year, or 261 deaths per day. These deaths shorten the lives of

19   those who die by an average of almost 29 years, for a total of 2.8 million years of potential life

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     1
       ANTI-DRUG ABUSE ACT OF 1988, 1988 Enacted H.R. 5210, 100 Enacted H.R. 5210, 102
22   Stat. 4181, 4518, 100 P.L. 690, 1988 Enacted H.R. 5210, 100 Enacted H.R. 5210
     2
23     Lieber CS. Relationships Between Nutrition, Alcohol Use, and Liver Disease, Relationships Be-
     tween Nutrition, Alcohol Use, and Liver Disease. National Institutes of Health. 2004.
24   https://pubs.niaaa.nih.gov/publications/arh27-3/220-231.htm
     3
       Lieber CS. Alcohol: its metabolism and interaction with nutrients. Annu Rev Nutr. 2000;20:395-
25   430.
     4
       U.S. Department of Agriculture and U.S. Department of Health and Human Services. Dietary
26
     Guidelines for Americans 2020-2025. 2020. p49.
27   https://www.dietaryguidelines.gov/sites/default/files/2020-
     12/Dietary_Guidelines_for_Americans_2020-2025.pdf
     5
28     Id.

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 1   lost. It is a leading cause of preventable death in the United States, and cost the nation $249 bil-

 2   lion in 2010.”6

 3             29.     Worse, “[m]ore than half of alcohol-attributable deaths are due to health effects

 4   from drinking too much over time, such as various types of cancer, liver disease, and heart dis-

 5   ease.”7

 6             Defendant’s Products Do Not Provide Health Benefits

 7             30.     Attempting to overcome the deleterious health impact of its Products, Defendant

 8   added Vitamin C to its Products and includes “with Antioxidant Vitamin C from Acerola Super-

 9   fruit” on the label and in advertisements. However, Defendant’s addition of vitamin C to the

10   Products provides only 20% of the Food and Drug Administration’s (“FDA”) Recommended

11   Daily Intake (“RDI”) of vitamin C per 12 ounce can. See 21 C.F.R. § 101.9(c)(8). Current scien-

12   tific research, however, does not indicate that vitamin C provides significant health benefits at

13   this level.

14             31.     Scientific research suggests that isolated antioxidants, such as the vitamin C added

15   to Defendant’s Products, do not provide the same health benefits as antioxidants from a diet rich

16   in fruits and vegetables. Clinical trials indicate that individual antioxidants taken alone do not ap-

17   pear to have preventative effects.8

18
               32. In this regard, the United States Department of Agriculture notes that
19
                     [a]n underlying premise of the Dietary Guidelines is that nutritional
20
                     needs should be met primarily from foods and beverages—
21                   specifically, nutrient-dense foods and beverages. … Nutrient-dense
                     foods and beverages provide vitamins, minerals, and other health-
22                   promoting components…9
23
     6
24     Centers for Disease Control and Prevention, Alcohol and Public Health,
     https://www.cdc.gov/alcohol/features/excessive-alcohol-deaths.html (last accessed June 15,
25   2021).
     7
       Id.
26   8
       See National Institutes of Health, Office of Dietary Supplements, Vitamin C Fact Sheet for Con-
27   sumers, available at https://ods.od.nih.gov/factsheets/list-all/#VitaminC.
     9
       United States Department of Agriculture, Dietary Guidelines for Americans, 2020-2025, Execu-
28   tive Summary, pgs. ix-x (available at https://www.dietaryguidelines.gov/).

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 1          33.      Moreover, consumers simply seeking to meet the RDI for vitamin C are also un-

 2   likely to experience health benefits from Vizzy Hard Seltzer Products. The National Institutes of

 3   Health confirms that vitamin C deficiency is rare, and the average American likely exceeds the

 4   RDI for vitamin C.10 Because vitamin C is water soluble, the body does not store excess vitamin

 5   C that a human consumes, meaning the excess vitamin C will likely pass through the body.

 6          34.      Even worse, alcohol consumption interferes with nutrient absorption, and even

 7   where a body absorbs nutrients, alcohol prevents the body from using nutrients by altering the

 8   transport, metabolism, and storage of nutrients.11

 9          35.      Further, Defendant’s use of the term “superfruit” on the Product labels further im-

10   plies that the Products are healthy. The term “superfruit” has become an industry term to denote

11   nutrient-dense fruits, synonymous with “healthy” and “nutritious.” However, little evidence sup-

12   ports the claim that a dusting of powder provides benefits associated with consumption of a fresh

13   “superfruit.”

14          36.      In summary, Defendant’s representations “with Vitamin C Antioxidant from Ac-

15   erola Superfruit” mislead reasonable consumers into believing that the antioxidant content of the

16   Products provides health benefits. The minimal amount of vitamin C in the Products will not pro-

17   vide consumers with the health benefits that Defendant’s representations lead them to expect, and

18   even worse, the Product is actually dangerous to consumers’ health.

19          37.      Defendant’s use of the term “Antioxidant” and the other representations and im-

20   ages detailed herein in the marketing, labeling, and advertising of the Products is thus nothing

21   more than a marketing gimmick intended to deceive consumers into purchasing the Products. Ac-

22   cordingly, Defendant’s representations concerning the nutritional qualities, health qualities, and

23   ingredients of the Products are misleading, deceptive, and unlawful.

24
     10
        National Institutes of Health, Office of Dietary Supplements, Vitamin C Fact Sheet for Con-
25   sumers, available at https://ods.od.nih.gov/factsheets/VitaminC-Consumer/ (accessed June 11,
     2021).
26   11
        Lieber, Charles S. “Alcohol and nutrition; an overview.” Alcohol Health & Research World,
27   vol. 13, no. 3, 1989, p. 197+. Gale Academic OneFile,
     link.gale.com/apps/doc/A8191860/AONE?u=anon~4ce0ada0&sid=googleScholar&xid=296d499
28   1. Accessed 14 July 2021.

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 1           Federal and State Regulations

 2           38.     The Federal Food, Drug, and Cosmetics Act (the “FDCA”), 21 U.S.C. § 343(a),

 3   provides that a food is misbranded if “its labeling is false or misleading in any particular.”

 4           39.     The FDA has provided guidance that fortification of certain products, including

 5   carbonated beverages, is not appropriate. 21 C.F.R. § 104.20 (the “Fortification Policy”).12 The

 6   Fortification Policy states that “The random fortification of foods . . . could result in deceptive

 7   and misleading claims.”

 8           40.     Specifically, under the Fortification Policy, the FDA “does not encourage indis-

 9   criminate addition of nutrients to foods, nor does it consider it appropriate to fortify … snack

10   foods such as … carbonated beverages.” See 21 C.F.R. § 104.20(a).

11           41.     In a 2015 Q&A Guidance Document relating to the Fortification Policy, the FDA

12   was unequivocal:
          B4. Is it appropriate to add vitamins and minerals to alcoholic beverages?
13        No. Under our fortification policy, we do not consider it appropriate to add vitamins and minerals
          to alcoholic beverages.
14
             42.     The Fortification Policy defines “fortification” as “the addition of a vitamin, min-
15
     eral, or protein to a food.” The use of dried acerola juice in Vizzy Hard Seltzer is fortification be-
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     cause this ingredient is used to add Vitamin C.
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             43.     The Fortification Policy is a guidance that is binding in certain circumstances.
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     Where a food makes an implied nutrient content claim by using a term that suggests that a food
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     helps consumers maintain healthy dietary practices in conjunction with an explicit statement
20
     about a nutrient, the product must comply with the Fortification Policy. See 21 C.F.R. §
21
     101.65(d).
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             44.     Identical federal and California laws regulate the content of labels on packaged
23
     food and drink. The requirements of the FDCA, and its labeling regulations, including those set
24
     forth in 21 C.F.R. §§ 101, 102, were adopted by the California legislature in the Sherman Food
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26   12
       Under the U.S. Internal Revenue Code “IRC” 27 CFR Part 7, a malt based hard seltzer is con-
27   sidered a malt beverage which is subject to TTB Labeling and advertising regulations, while a
     sugar based hard seltzer is considered “beer” and is subject to FDA regulation. Vizzy Hard Selt-
28   zer is derived from sugar. Therefore, Defendant’s Products are subject to FDA regulations.

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 1   Drug & Cosmetic Law (the “Sherman Law”). California Health & Safety Code § 110100 (“All

 2   food labeling regulations and any amendments to those regulations adopted pursuant to the fed-

 3   eral act, in effect on January 1, 1993, or adopted on or after that date shall be the food labeling

 4   regulations of this state.”). The federal laws and regulations discussed below are applicable na-

 5   tionwide to all sales of packaged food products. Additionally, no state imposes different require-

 6   ments on the labeling of packaged food for sale in the United States.

 7          45.     Under the FDCA, the term misleading is a term of art that covers labels that are

 8   technically true, but are likely to deceive consumers. Under the FDCA, if any single representa-

 9   tion on the labeling is false or misleading, the entire food is misbranded, and no other statement in

10   the labeling can cure a misleading statement.

11          46.     Further, in addition to its blanket adoption of federal labeling requirements, Cali-

12   fornia has also enacted a number of laws and regulations that adopt and incorporate specific enu-

13   merated federal food laws and regulations. See California Health & Safety Code § 110660

14   (misbranded if label is false and misleading).

15          47.     Under California law, a food product that is “misbranded” cannot legally be manu-

16   factured, advertised, distributed, sold, or possessed. Misbranded products have no economic value

17   and are legally worthless.

18
     Defendant’s Marketing and Labeling of its Products Violates State and Federal Food Label-
19   ing Laws

20          48.     As the FDA recognizes in its Fortification Policy, the fortification of unhealthy

21   foods such as alcoholic and carbonated beverages is misleading and deceptive to consumers. The

22   deception is particularly acute where compared to other hard seltzer products in the marketplace

23   that do not contain unlawful advertising and fortification. Thus, the Products are misleading and

24   therefore misbranded.

25          49.     Further, the Products are required to comply with the Fortification Policy because

26   the Products make nutritional claims.

27          50.     The term “superfruit” suggests that the Products, because of their nutrient content,

28   may help consumers maintain healthy dietary practices. The Products use the term “superfruit” in

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 1   conjunction with the statement “with Antioxidant Vitamin C,” which is an explicit statement

 2   about a nutrient. See 21 C.F.R. 101.65(d). Therefore, the Products make a nutritional claim.

 3          51.     Because the Products make a nutritional claim, they must comply with the Fortifi-

 4   cation Policy. 21 C.F.R. 101.65(d)(2)(iv).

 5          52.     The Products violate the Fortification Policy because they are carbonated bever-

 6   ages that are fortified with the nutrient Vitamin C. The Products are therefore unlawfully forti-

 7   fied, and the Product labels contain prohibited nutritional claims. Thus, the Products are

 8   misbranded.

 9          53.     Defendant’s Products are unlawful, misbranded, and violate the Sherman Law,

10   California Health & Safety Code § 110660, et seq., because the Products’ labels state the Prod-

11   ucts are made “with Antioxidant Vitamin C from Acerola Superfruit,” implying the Products are a

12   healthful source of nutrients, even though FDA guidance states that fortification of alcoholic, car-

13   bonated beverages is not appropriate and would result in misleading consumers.

14          54.     Defendant’s marketing, advertising, and sale of the Products violates the false ad-

15   vertising provisions of the Sherman Law (California Health & Safety Code § 110390, et. Seq.),

16   including but not limited to:

17          a.     Section 110390, which makes it unlawful to disseminate false or misleading food
18                 advertisements that include statements on products and product packaging or
19                 labeling or any other medium used to directly or indirectly induce the purchase of a
20                 food product;
21          b.     Section 110395, which makes it unlawful to manufacture, sell, deliver, hold or offer
22                 to sell any falsely or misleadingly advertised food; and
23          c.     Sections 110398 and 110400, which make it unlawful to advertise misbranded food
24                 or to deliver or proffer for delivery any food that has been falsely or misleadingly
25                 advertised.
26          55.     Defendant’s marketing, advertising, and sale of the Products violates the
27   misbranding provisions of the Sherman Law (California Health & Safety Code § 110660, et.
28   seq.), including but not limited to:
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 1          a.    Section 110665 (a food is misbranded if its labeling does not conform with the

 2                requirements for nutrition labeling as set forth in 21 U.S.C. Sec. 343(q));

 3          b.    Section 110705 (a food is misbranded if words, statements and other information

 4                required by the Sherman Law to appear food labeling is either missing or not

 5                sufficiently conspicuous);

 6          c.    Section 110760, which makes it unlawful for any person to manufacture, sell,

 7                deliver, hold, or offer for sale any food that is misbranded;

 8          d.    Section 110765, which makes it unlawful for any person to misbrand any food; and

 9          e.    Section 110770, which makes it unlawful for any person to receive in commerce any

10                food that is misbranded or to deliver or proffer for delivery any such food.

11          56.     Defendant has violated 21 U.S.C. § 343(a), and the standards set by FDA

12   regulations, including but not limited to 21 C.F.R. § 101.65(d), which have been incorporated by

13   reference in the Sherman Law, by failing to include on their product labels the nutritional

14   information required by law.

15          57.     A reasonable consumer would expect that the Products are a healthful source of

16   nutrients and that the labels would not be contrary to the policies or regulations of the State of

17   California and/or the FDA.

18          58.     Consumers lack the meaningful ability to test or independently ascertain the truth-

19   fulness of Defendant’s food labeling claims, especially at the point of sale. Consumers would not

20   know that the Products are unlawfully fortified and unlawfully labeled. Its discovery requires in-

21   vestigation well beyond the grocery store aisle and knowledge of FDA regulations and food

22   chemistry beyond that of the average consumer. An average consumer does not have the special-

23   ized knowledge necessary to ascertain that the deleterious effects of alcohol overtime will not be

24   overcome by the fortification of the Products with scant amounts of Vitamin C. Therefore, con-

25   sumers had no reason to investigate whether the Products actually are a healthful source of nutri-

26   ents as the labels claim. Thus, reasonable consumers relied on Defendant’s representations

27   regarding the nature of the Products.

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 1              59.   Defendant intends and knows that consumers will and do rely upon food labeling

 2   statements in making their purchasing decisions. Label claims and other forms of advertising and

 3   marketing drive product sales, particularly if placed prominently on the front of product packag-

 4   ing, as Defendant has done with the claim that its Products are a healthful source of nutrients.

 5         Defendant Intends to Continue to Market its Products as Containing Antioxidant Vi-
     tamin C from Acerola Superfruit
 6
                60.   Because consumers pay a price premium for products that contain antioxidants and
 7
     are perceived as providing health benefits, by fortifying their Products and labeling its Products as
 8
     containing nutrients and superfruit, Defendant is able to both increase its sales and retain more
 9
     profits.
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                61.   Defendant engaged in the practices complained of herein to further its private in-
11
     terests of: (i) increasing sales of its Products while decreasing the sales of competitors that do not
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     unlawfully fortify and label their products, and/or (ii) commanding a higher price for its Products
13
     because consumers will pay more for these Products due to consumers’ demand for healthful
14
     products.
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                62.   The market for hard seltzer products is continuing to grow and expand, and be-
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     cause Defendant knows consumers rely on representations about the antioxidant vitamin C con-
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     tent from superfruit in their Products, Defendant has an incentive to continue to make such false
18
     and misleading representations. In addition, other trends suggest that Defendant have no incentive
19
     to change their labeling practices.
20
                63.   For example, one market analysis revealed that the market for hard seltzers is ex-
21
     pected to grow at a 16% compound annual growth rate through 2027.13
22
                64.   To capitalize on the growing market, since introducing its Products in 2020, De-
23
     fendant has expanded its product line to a new “lemonade hard seltzer” flavor line in April 2021.
24
     Vizzy’s senior director of above premium flavor has stated “All of the hard seltzers out there are
25
26   13
        https://www.toptal.com/finance/market-research-analysts/hard-seltzer-
27   indus-
     try#:~:text=The%20global%20hard%20seltzer%20market,US%2C%20Canada%2C%20and%20
28   Australia.

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 1   basically the same: the same white packaging, the same flavors, same calories and carbs. Vizzy

 2   counters that sea of sameness with a unique ingredient - antioxidant vitamin C from acerola su-

 3   perfruit. The campaign brings that to the forefront to make a drinker’s choice really simple.”14

 4             65.   Defendant continues to launch new flavors to diversify its portfolio to maintain

 5   their competitive edge, making it likely that Defendant will continue to unlawfully fortify their

 6   Products and misleadingly advertise their Products to perpetuate the misrepresentations regarding

 7   the healthfulness of their Products.

 8                                          PLAINTIFF’S EXPERIENCE

 9             66.   Plaintiff purchased variety 12 packs of Vizzy Hard Seltzer from Target, including

10   from Target in Redwood City, California on June 3, 2021.

11             67.   Plaintiff made each of her purchases after reading and relying on Defendant’s

12   product label that advertised “With Antioxidant Vitamin C from Acerola Superfruit.” She was

13   attracted to the Products because, when given a choice, she preferred to receive health benefits

14   while drinking a hard seltzer.

15             68.   At the time of each of her purchases of the Products, Plaintiff did not know that the

16   Products were unlawfully labeled and would not provide nutritious benefits. As a result of Defen-

17   dant’s misrepresentations and omissions, the Products have no, or, at a minimum, a much lower

18   value to Plaintiff.

19             69.   Plaintiff not only purchased the Products because of the unlawful labeling, but she

20   also paid more money for the Products than she would have paid for other or a similar alcoholic

21   beverage product that was not unlawfully fortified and labeled with misleading nutrient content

22   claims.

23             70.   Had Defendant not misrepresented (by omission and commission) the true nature

24   of the Products, Plaintiff would not have purchased them or, at a very minimum, she would have

25   paid less for the Products.

26
     14
27     https://www.marketscreener.com/quote/stock/MOLSON-COORS-BEVERAGE-COM-
     14548/news/Molson-Coors-Beverage-nbsp-Vizzy-Hard-Seltzer-launches-ad-campaign-taking-
28   aim-at-lsquo-sea-of-sam-30971771/

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 1          71.     Plaintiff continues to desire to purchase alcohol products, including those mar-

 2   keted and sold by Defendant. If Defendant’s Products were reformulated to remove the nutrients,

 3   and labeled without the unlawful nutrient claims, Plaintiff would likely purchase Defendant’s

 4   Products again in the future. Plaintiff regularly visits stores where Defendant’s Products and other

 5   hard seltzers are sold.

 6          72.     Plaintiff and members of the Class have been economically damaged by their

 7   purchase of the Products because the advertising for the Products was and is untrue and/or

 8   misleading under California law and the products are misbranded; therefore, the Products are

 9   worth less than what Plaintiff and members of the Class paid for them and/or Plaintiff and

10   members of the Class did not receive what they reasonably intended to receive.

11                                             CLASS ALLEGATIONS

12          73.     Plaintiff brings this class action lawsuit on behalf of herself and a proposed class

13   of similarly situated persons, pursuant to Rule 23(b)(2) and (b)(3) of the Federal Rules of Civil

14   Procedure. Plaintiff seeks to represent the following groups of similarly situated persons, defined

15   as follows:

16          All persons in the State of California who purchased the Products between September 16,
            2017 and the present.
17
            74.     This action has been brought and may properly be maintained as a class action
18
     against Defendant because there is a well-defined community of interest in the litigation and the
19
     proposed class is easily ascertainable.
20
            75.     Numerosity: Plaintiff does not know the exact size the Class, but she estimates that
21
     it is composed of more than 100 persons. The persons in the Class are so numerous that the
22
     joinder of all such persons is impracticable and the disposition of their claims in a class action
23
     rather than in individual actions will benefit the parties and the courts.
24
            76.     Common Questions Predominate: This action involves common questions of law
25
     and fact to the potential classes because each class member’s claim derives from the deceptive,
26
     unlawful and/or unfair statements and omissions that led consumers to believe that the Products
27
     provide health benefits as represented on the Product labels. The common questions of law and
28

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 1   fact predominate over individual questions, as proof of a common or single set of facts will

 2   establish the right of each member of the Class to recover. The questions of law and fact common

 3   to the Class are:

 4                a. Whether the marketing, advertising, packaging, labeling, and other promotional

 5                   materials for the Products are deceptive and/or unlawful;

 6                b. Whether Defendant’s actions violate Federal and California laws invoked herein;

 7                c. Whether the fortification of the Product is unlawful;

 8                d. Whether labeling the Products with nutrient content claims causes the Products to

 9                   command a price premium in the market as compared with similar products that do

10                   not make such misrepresentations;

11                e. Whether Defendant’s advertising and marketing regarding the Products sold to the

12                   class members was likely to deceive reasonable consumers;

13                f. Whether representations regarding the antioxidant vitamin C in the Products are

14                   material to a reasonable consumer;

15                g. Whether representations regarding the use of a superfruit in the Products are

16                   material to a reasonable consumer;

17                h. Whether Defendant engaged in the behavior knowingly, recklessly, or negligently;

18                i. The amount of profits and revenues earned by Defendant as a result of the

19                   conduct;

20                j. Whether class members are entitled to restitution, injunctive and other equitable

21                   relief and, if so, what is the nature (and amount) of such relief; and

22                k. Whether class members are entitled to payment of actual, incidental,

23                   consequential, exemplary and/or statutory damages plus interest thereon, and if so,

24                   what is the nature of such relief.

25          77.      Typicality: Plaintiff’s claims are typical of the claims of the other members of the

26   Class because, among other things, all such claims arise out of the same wrongful course of

27   conduct engaged in by Defendant in violation of law as complained of herein. Further, the

28   damages of each member of the Class were caused directly by Defendant’s wrongful conduct in

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 1   violation of the law as alleged herein.

 2           78.     Adequacy of Representation: Plaintiff will fairly and adequately protect the

 3   interests of all class members because it is in their best interests to prosecute the claims alleged

 4   herein to obtain full compensation due to her for the unfair and illegal conduct of which she

 5   complains. Plaintiff also has no interests that are in conflict with, or antagonistic to, the interests

 6   of class members. Plaintiff has retained highly competent and experienced class action attorneys

 7   to represent his interests and that of the class. By prevailing on her own claims, Plaintiff will

 8   establish Defendant’s liability to all class members. Plaintiff and her counsel have the necessary

 9   financial resources to adequately and vigorously litigate this class action, and Plaintiff and

10   counsel are aware of their fiduciary responsibilities to the class members and are determined to

11   diligently discharge those duties by vigorously seeking the maximum possible recovery for class

12   members.

13           79.     Superiority: There is no plain, speedy, or adequate remedy other than by

14   maintenance of this class action. The prosecution of individual remedies by members of the

15   classes will tend to establish inconsistent standards of conduct for Defendant and result in the

16   impairment of class members’ rights and the disposition of their interests through actions to

17   which they were not parties. Class action treatment will permit a large number of similarly

18   situated persons to prosecute their common claims in a single forum simultaneously, efficiently,

19   and without the unnecessary duplication of effort and expense that numerous individual actions

20   would engender. Furthermore, as the damages suffered by each individual member of the classes

21   may be relatively small, the expenses and burden of individual litigation would make it difficult

22   or impossible for individual members of the class to redress the wrongs done to them, while an

23   important public interest will be served by addressing the matter as a class action.

24           80.     Plaintiff is unaware of any difficulties that are likely to be encountered in the

25   management of this action that would preclude its maintenance as a class action.

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27
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 1                                         CAUSES OF ACTION

 2           Plaintiff does not plead, and hereby disclaims, causes of action under the FDCA and

 3   regulations promulgated thereunder by the FDA. Plaintiff relies on the FDCA and FDA

 4   regulations only to the extent such laws and regulations have been separately enacted as state law

 5   or regulation or provide a predicate basis of liability under the state and common laws cited in the

 6   following causes of action.
                              PLAINTIFF’S FIRST CAUSE OF ACTION
 7
       (Violation of the Consumers Legal Remedies Act (the “CLRA”), California Civil Code §
 8
                                           1750, et seq.)
 9                              On Behalf of Plaintiff and the Class

10           81.     Plaintiff realleges and incorporates the paragraphs of this Class Action Complaint

11   as if set forth herein.

12           82.     Defendant’s actions, representations and conduct have violated, and continue to

13   violate the CLRA, because they extend to transactions that are intended to result, or which have

14   resulted, in the sale or lease of goods or services to consumers.

15           83.     Plaintiff and other class members are “consumers” as that term is defined by the

16   CLRA in California Civil Code § 1761(d).

17           84.     The Products that Plaintiff (and other similarly situated class members) purchased

18   from Defendant were “goods” within the meaning of California Civil Code § 1761(a).

19           85.     Defendant’s acts and practices, set forth in this Class Action Complaint, led

20   customers to falsely believe that the Products provided health benefits as claimed on the product

21   package. By engaging in the actions, representations and conduct set forth in this Class Action

22   Complaint, Defendant has violated, and continues to violate, § 1770(a)(2), § 1770(a)(5),

23   § 1770(a)(7), and § 1770(a)(8), of the CLRA. In violation of California Civil Code §1770(a)(2),

24   Defendant’s acts and practices constitute improper representations regarding the source,

25   sponsorship, approval, or certification of the goods they sold. In violation of California Civil

26   Code §1770(a)(5), Defendant’s acts and practices constitute improper representations that the

27   goods they sell have sponsorship, approval, characteristics, ingredients, uses, benefits, or

28   quantities, which they do not have. In violation of California Civil Code §1770(a)(7), Defendant’s

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 1   acts and practices constitute improper representations that the goods it sells are of a particular

 2   standard, quality, or grade, when they are of another. In violation of California Civil Code

 3   §1770(a)(8), Defendant has disparaged the goods, services, or business of another by false or

 4   misleading representation of fact. Finally, regarding California Civil Code §1770(a)(8),

 5   Defendant falsely or deceptively markets and advertises that, unlike other alcoholic beverage

 6   product manufacturers, it sells Products that contain antioxidant vitamin C.

 7          86.     Plaintiff requests that this Court enjoin Defendant from continuing to employ the

 8   unlawful methods, acts and practices alleged herein pursuant to California Civil Code

 9   § 1780(a)(2). If Defendant is not restrained from engaging in these types of practices in the

10   future, Plaintiff and the other members of the Class will continue to suffer harm. Plaintiff and

11   those similarly situated have no adequate remedy at law to stop Defendant continuing practices.

12          87.     CIVIL CODE § 1782 NOTICE. Plaintiff notices and demands that within thirty

13   (30) days from that date of the filing of this Complaint, Defendant correct, repair, replace or oth-

14   erwise rectify the unlawful, unfair, false and or deceptive practices complained of herein.
15          88.     Should the violations herein alleged not be corrected or rectified as required by
16   Civil Code § 1782 within 30 days with respect to all Class Members, Plaintiff will seek to amend
17   this Class Action Complaint to seek, on behalf of each Class Member, actual damages of at least
18   $1,000, punitive damages, an award of $5,000 for each Class Member who is a disabled person or
19   senior citizen, and restitution of any ill-gotten gains due to Defendant’s acts and practices.
20
            89.     Plaintiff also requests that this Court award her costs and reasonable attorneys’
21
     fees pursuant to California Civil Code § 1780(d).
22
                                PLAINTIFF’S SECOND CAUSE OF ACTION
23                (False Advertising, Business and Professions Code § 17500, et seq. (“FAL”))
                                      On Behalf of Plaintiff and the Class
24
            90.     Plaintiff realleges and incorporates by reference the paragraphs of this Class
25
     Action Complaint as if set forth herein.
26
            91.     Beginning at an exact date unknown to Plaintiff, but within three (3) years
27
     preceding the filing of the Class Action Complaint, Defendant made deceptive and/or misleading
28
     statements in connection with the advertising and marketing of the Products.
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 1           92.    Defendant made representations and statements (by omission and commission)

 2   that led reasonable customers to believe that alcoholic beverages could be healthful sources of

 3   nutrients.

 4           93.    Plaintiff and those similarly situated relied to their detriment on Defendant’s false,

 5   misleading and deceptive advertising and marketing practices, including each of the

 6   misrepresentations and omissions set forth above. Had Plaintiff and those similarly situated been

 7   adequately informed and not intentionally deceived by Defendant, she would have acted

 8   differently by, without limitation, refraining from purchasing Defendant’s Products or paying less

 9   for them.

10           94.    Defendant’s acts and omissions are likely to deceive the general public.

11           95.    Defendant engaged in these false, misleading and deceptive advertising and

12   marketing practices to increase their profits. Accordingly, Defendant have engaged in false

13   advertising, as defined and prohibited by section 17500, et seq. of the California Business and

14   Professions Code.

15           96.    The aforementioned practices, which Defendant used, and continues to use, to its

16   significant financial gain, also constitute unlawful competition and provide an unlawful

17   advantage over Defendant’s competitors as well as injury to the general public.

18           97.    As a direct and proximate result of such actions, Plaintiff and the other class

19   members have suffered, and continue to suffer, injury in fact and have lost money and/or property

20   as a result of such false, deceptive and misleading advertising in an amount which will be proven

21   at trial, but which is in excess of the jurisdictional minimum of this Court.

22           98.    Plaintiff seeks, on behalf of herself and those similarly situated, full restitution of

23   monies, as necessary and according to proof, to restore any and all monies acquired by Defendant

24   from Plaintiff, the general public, or those similarly situated by means of the false, misleading

25   and deceptive advertising and marketing practices complained of herein, plus interest thereon.

26   Plaintiff and those similarly situated lack any adequate remedy at law to obtain this restitution.

27           99.    Plaintiff seeks, on behalf of herself and those similarly situated, a declaration that

28   the above-described practices constitute false, misleading and deceptive advertising.

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 1          100.    Plaintiff seeks, on behalf of herself and those similarly situated, an injunction to

 2   prohibit Defendant from continuing to engage in the false, misleading and deceptive advertising

 3   and marketing practices complained of herein. Such misconduct by Defendant, unless and until

 4   enjoined and restrained by order of this Court, will continue to cause injury in fact to the general

 5   public and the loss of money and property in that Defendant will continue to violate the laws of

 6   California, unless specifically ordered to comply with the same. This expectation of future

 7   violations will require current and future consumers to repeatedly and continuously seek legal

 8   redress in order to recover monies paid to Defendant to which they are not entitled. Plaintiff,

 9   those similarly situated and/or other consumers nationwide have no other adequate remedy at law

10   to ensure future compliance with the California Business and Professions Code alleged to have

11   been violated herein.

12                               PLAINTIFF’S THIRD CAUSE OF ACTION
                             (Common Law Fraud, Deceit and/or Misrepresentation)
13                                On Behalf of Plaintiff and the Class
14          101.    Plaintiff realleges and incorporates by reference the paragraphs of this Class
15   Action Complaint as if set forth herein.
16          102.    Defendant has fraudulently and deceptively informed Plaintiff that the Products
17   are healthful sources of nutrients.
18          103.    These misrepresentations and omissions were known exclusively to, and actively
19   concealed by, Defendant, not reasonably known to Plaintiff, and material at the time they were
20   made. Defendant knew or should have known the composition of the Products, and knew or
21   should have known that the fortifying the Products is disapproved by the FDA, and when done in
22   conjunction with health claims is prohibited by the FDA, and therefore results in misleading
23   consumers. Defendant’s misrepresentations and omissions concerned material facts that were
24   essential to the analysis undertaken by Plaintiff as to whether to purchase Defendant’s Products.
25   In misleading Plaintiff and not so informing Plaintiff, Defendant breached its duty to him.
26   Defendant also gained financially from, and as a result of, its breach.
27          104.    Plaintiff and those similarly situated relied to their detriment on Defendant’s
28   misrepresentations and fraudulent omissions. Had Plaintiff and those similarly situated been

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 1   adequately informed and not intentionally deceived by Defendant, they would have acted

 2   differently by, without limitation: (i) declining to purchase the Products, (ii) purchasing less of

 3   them, or (iii) paying less for the Products.

 4          105.    By and through such fraud, deceit, misrepresentations and/or omissions, Defendant

 5   intended to induce Plaintiff and those similarly situated to alter their position to their detriment.

 6   Specifically, Defendant fraudulently and deceptively induced Plaintiff and those similarly situated

 7   to, without limitation, purchase the Products.

 8          106.    Plaintiff and those similarly situated justifiably and reasonably relied on

 9   Defendant’s misrepresentations and omissions, and, accordingly, were damaged by Defendant.

10          107.    As a direct and proximate result of Defendant’s misrepresentations and/or

11   omissions, Plaintiff and those similarly situated have suffered damages, including, without

12   limitation, the amount they paid for the Products.

13          108.    Defendant’s conduct as described herein was wilful and malicious and was

14   designed to maximize Defendant’s profits even though Defendant knew that it would cause loss

15   and harm to Plaintiff and those similarly situated.

16                         PLAINTIFF’S FOURTH CAUSE OF ACTION
              (Unlawful, unfair, and fraudulent trade practices violation of Business and Profes-
17                                    sions Code § 17200, et seq.)
                                     On Behalf of Plaintiff and the Class
18
            109.    Plaintiff realleges and incorporates by reference the paragraphs of this Class
19
     Action Complaint as if set forth herein.
20
            110.    Within four (4) years preceding the filing of this lawsuit, and at all times
21
     mentioned herein, Defendant has engaged, and continues to engage, in unlawful, unfair, and
22
     fraudulent trade practices in California by engaging in the unlawful, unfair, and fraudulent
23
     business practices outlined in this complaint.
24
            111.    In particular, Defendant has engaged, and continues to engage, in unlawful
25
     practices by, without limitation, violating the following state and federal laws: (i) the CLRA as
26
     described herein; (ii) the FAL as described herein; (iii) the advertising provisions of the Sherman
27
     Law (Article 3), including without limitation, California Health & Safety Code §§ 110390,
28

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 1   110395, 110398 and 110400; (iv) the misbranded food provisions of the Sherman Law (Article

 2   6), including without limitation, California Health & Safety Code §§ 110660, 110665, 110705,

 3   110760, 110765, and 110770; and (v) and federal laws regulating the advertising and branding of

 4   food in 21 U.S.C. § 343(a), et seq. and FDA regulations, including but not limited to 21 C.F.R.

 5   104.20, and 21 C.F.R. 101.65(d), which are incorporated into the Sherman Law (California

 6   Health & Safety Code §§ 110100(a), 110380, and 110505).

 7           112.    In particular, Defendant has engaged, and continues to engage, in unfair and

 8   fraudulent practices by, without limitation, the following: (i) misrepresenting that the Products are

 9   healthful sources of nutrients; and (ii) fortifying its alcoholic, carbonated beverages in violation

10   of FDA guidance and regulations.

11           113.    Plaintiff and those similarly situated relied to their detriment on Defendant’s

12   unlawful, unfair, and fraudulent business practices. Had Plaintiff and those similarly situated been

13   adequately informed and not deceived by Defendant, they would have acted differently by,

14   without limitation: (i) declining to purchase the Products, (ii) purchasing less of the Products, or

15   (iii) paying less for the Products.

16           114.    Defendant’s acts and omissions are likely to deceive the general public.

17           115.    Defendant engaged in these deceptive and unlawful practices to increase its

18   profits. Accordingly, Defendant has engaged in unlawful trade practices, as defined and

19   prohibited by section 17200, et seq. of the California Business and Professions Code.

20           116.    The aforementioned practices, which Defendant has used to their significant

21   financial gain, also constitute unlawful competition and provide an unlawful advantage over

22   Defendant’s competitors as well as injury to the general public.

23           117.    As a direct and proximate result of such actions, Plaintiff and the other class

24   members, have suffered and continue to suffer injury in fact and have lost money and/or property

25   as a result of such deceptive and/or unlawful trade practices and unfair competition in an amount

26   which will be proven at trial, but which is in excess of the jurisdictional minimum of this Court.

27   Among other things, Plaintiff and the class members lost the amount they paid for the Products.

28           118.    As a direct and proximate result of such actions, Defendant has enjoyed, and

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 1   continues to enjoy, significant financial gain in an amount which will be proven at trial, but which

 2   is in excess of the jurisdictional minimum of this Court.

 3          119.    Plaintiff seeks, on behalf of herself and those similarly situated, full restitution of

 4   monies, as necessary and according to proof, to restore any and all monies acquired by Defendant

 5   from Plaintiff, the general public, or those similarly situated by means of the deceptive and/or

 6   unlawful trade practices complained of herein, plus interest thereon. Plaintiff and those similarly

 7   situated lack any adequate remedy at law to obtain this restitution.

 8          120.    Plaintiff seeks, on behalf of those similarly situated, a declaration that the above-

 9   described trade practices are fraudulent, unfair, and/or unlawful.

10          121.    Plaintiff seeks, on behalf of those similarly situated, an injunction to prohibit

11   Defendant from continuing to engage in the deceptive and/or unlawful trade practices complained

12   of herein. Such misconduct by Defendant, unless and until enjoined and restrained by order of

13   this Court, will continue to cause injury in fact to the general public and the loss of money and

14   property in that Defendant will continue to violate the laws of California, unless specifically

15   ordered to comply with the same. This expectation of future violations will require current and

16   future consumers to repeatedly and continuously seek legal redress in order to recover monies

17   paid to Defendant to which they were not entitled. Plaintiff, those similarly situated and/or other

18   consumers nationwide have no other adequate remedy at law to ensure future compliance with the

19   California Business and Professions Code alleged to have been violated herein.

20
                                  PLAINTIFF’S FIFTH CAUSE OF ACTION
21                                      (Unjust Enrichment)
                                     On Behalf of Plaintiff and the Class
22
            122.    Plaintiff realleges and incorporates by reference all paragraphs alleged herein
23
            123.    Plaintiff and members of the Class members conferred a benefit on the Defendant
24
     by purchasing the Products
25
            124.    Defendant has been unjustly enriched in retaining the revenues from Plaintiff’s and
26
     Class Members’ purchases of the Products, which retention is unjust and inequitable, because
27
     Defendant falsely represented that the Products are healthful sources of nutrients when, in fact,
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 1   the Products are not healthful and FDA guidelines provide that carbonated and alcoholic

 2   beverages should not be fortified with nutrients. This harmed Plaintiff and members of the class

 3   because they paid a price premium as a result.

 4          125.    Because Defendant’s retention of the non-gratuitous benefit conferred on it by

 5   Plaintiff and Class members is unjust and inequitable, Defendant must pay restitution to Plaintiff

 6   and the Class members for its unjust enrichment, as ordered by the Court. Plaintiff and those

 7   similarly situated have no adequate remedy at law to obtain this restitution.

 8          126.     Plaintiff, therefore, seeks an order requiring Defendant to make restitution to his

 9   and other members of the Class.

10                                        PRAYER FOR RELIEF

11                  WHEREFORE, Plaintiff, on behalf of herself and those similarly situated,

12   respectfully request that the Court enter judgement against Defendant as follows:

13          A.      Certification of the proposed Class, including appointment of Plaintiff’s counsel as

14                  class counsel;

15          B.      An order temporarily and permanently enjoining Defendant from continuing the

16                  unlawful, deceptive, fraudulent, and unfair business practices alleged in this Com-

17                  plaint;

18          C.      An award of compensatory damages in an amount to be determined at trial, except

19   as to those causes of action where compensatory damages are not available at law;

20          D.      An award of statutory damages in an amount to be determined at trial, except as to

21   those causes of action where statutory damages are not available at law;

22          E.      An award of punitive damages in an amount to be determined at trial, except as to

23   those causes of action where punitive damages are not available at law;

24          F.      An award of treble damages, except as to those causes of action where treble

25   damages are not available at law;

26          G.      An award of restitution in an amount to be determined at trial, except as to those

27   causes of action where restitution is not available at law;

28          H.      An order requiring Defendant to pay both pre- and post-judgment interest on any

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 1            amounts awarded;

 2      I.    For reasonable attorneys’ fees and the costs of suit incurred; and

 3      J.    For such further relief as this Court may deem just and proper.

 4                               JURY TRIAL DEMANDED

 5            Plaintiff hereby demands a trial by jury.

 6      Dated: September 16, 2021                   GUTRIDE SAFIER LLP

 7                                                  /s/Hayley Reynolds/s/
                                                    Hayley Reynolds, Esq.
 8                                                  Seth A. Safier, Esq.
                                                    Marie McCrary, Esq.
 9                                                 100 Pine Street, Suite 1250
                                                    San Francisco, CA 94111
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 1                                             EXHIBIT A

 2         I, Jennifer Marek, declare:

 3         1.       I am the Plaintiff in this action. If called upon to testify, I could and would

 4 competently testify to the matters contained herein based upon my personal knowledge.

 5         2.       I submit this Declaration pursuant to California Code of Civil Procedure section

 6 2215.5 and California Civil Code section 1780(d).

 7         3.       I reside in Menlo Park, California. I purchased Vizzy Hard Seltzer variety packs in

 8 2021, including from Target on June 3, 2021 in Redwood City, California.

 9         I declare under penalty of perjury under the laws of California that the foregoing is true

10 and correct.

11         Executed this 15th day of September 2021, in Menlo Park, California.

12

13

14                                                         __________________________
                                                           Jennifer Marek
15

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                  MAREK DECLARATION RE CAL. CIV. CODE SECTION 1780(D) JURISDICTION
